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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 GIORGI RTSKHILADZE,


         Plaintiff,

         v.

 ROBERT S. MUELLER, III
 In his individual capacity                           Case No. 1:20-cv-1591-CRC

         and

 UNITED STATES DEPARTMENT OF
 JUSTICE

                             Defendants.

                                    NOTICE OF SEALED FILING

        In accordance with this Court’s April 25 order, and as authorized by Chief Judge Howell,

Order, In re Grand Jury Proceedings, 21-gj-48 (D.D.C.), ECF No. 25, the Department of Justice

earlier today filed ex parte and under seal on this docket the transcript of Mr. Rtskhiladze’s

grand jury interview. Due to the ex parte nature of the filing, the filing was not served on

Plaintiff or Plaintiff’s counsel.



 Dated: May 16, 2022                                 Respectfully submitted,

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